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                        IN THE UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION

NATHANIEL JACKSON,                             :
                                               :
               Petitioner,                     :       CASE NO. 4:07-cv-0880
                                               :
       v.                                      :       JUDGE JAMES S. GWIN
                                               :
MARC HOUK, Warden                              :       Death Penalty Case
                                               :
               Respondent.                     :


      WARDEN’S NOTICE OF SUBMISSION OF STATE COURT TRANSCRIPTS



       Pursuant to this Court’s order of May 19, 2017 [ECF# 45], the Warden hereby notifies

the Court and the Petitioner of the submission of all state court transcripts.



                                               Respectfully submitted,

                                               MICHAEL DEWINE
                                               Ohio Attorney General

                                               s/ Stephen E. Maher
                                               STEPHEN E. MAHER (0032279)
                                               Assistant Attorney General
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                                               COUNSEL FOR THE WARDEN
     Case: 4:07-cv-00880-JG Doc #: 49 Filed: 07/14/17 2 of 2. PageID #: 19168




                                 CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the foregoing Notice of

Submission of State Court Transcripts was filed electronically this 14th day of July, 2017.

Notice of this filing will be sent to all parties by operation of the Court’s electronic filing system.

Parties may access this filing through the Court’s system.



                                               s/ Stephen E. Maher
                                               STEPHEN E. MAHER (0032279)
                                               Assistant Attorney General




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